                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

KAYLA M. BRADY, et al.                                     Civil Case No.: 8:21-cv-01412-CBD

       Plaintiffs,

       v.

WALMART INC. et al.,

       Defendants.

                                           ORDER

       Upon consideration of Plaintiffs’ Motion for Leave to Withdraw as Counsel thereto, it is

this _______ day of ___________________, 2023, by the United States District Court for the

District of Maryland hereby:

       ORDERED that Plaintiffs’ Motion for Leave to Withdraw Jonathan E. Lowy as Counsel

is hereby GRANTED; and it is further

       ORDERED that Kevin P. Sullivan, Daniel P. Stringer, and Erin Davis shall remain as

Counsel for Plaintiffs.




                                                   Judge, United States District Court
                                                   District of Maryland


cc: All Counsel of Record
